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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

SHERELL HODGE,
PLAINTIFF,

Vv. CIVIL CASE NO. 3:23-C V-2048-N-BK

ASHLEY GRAYSON,
DEFENDANT.

MAGISTRATE JUDGE’S QUESTIONNAIRE

A document titled “Answers to Magistrate Judge’s Questionnaire” is attached. The
Court perceives the facts set forth in the complaint as inadequate in whole or part to state a claim
against Defendant. This Questionnaire gives Plaintiff the opportunity to supplement the
complaint with more specific facts in support of the claims alleged. See Brown v. Taylor, 829
F.3d 365, 370 (Sth Cir. 2016).

Accordingly, Plaintiff is ORDERED to answer the questions in the attached document in
the space provided for the answers. Plaintiff may attach additional pages to answer the
questions fully but may not write on the back of the pages. Plaintiff is further ORDERED to
verify the answers under penalty of perjury by signing on the line at the end of the

questions and return the answers to the district clerk by October 13, 2023.

Failure to file answers to the Questionnaire may result in the dismissal of the action for
failure to prosecute.

SO ORDERED on September 22, 2023.

<E HARRIS TOLIVER.
UNKEDSTATES MAGISTRATE JUDGE

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
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ANSWERS TO MAGISTRATE JUDGE’S QUESTIONNAIRE

1. Identify the date(s) (month, day, and year) when Defendant Ashley Grayson acted as alleged
in the complaint.

I'm unaware of the exact date she acted as alleged, however | was contacted by Olivia Johnson who acted as a party to
the alleged threat on my life on September 27th, 2022. In which she admitted that she was the person that Ashley
Grayson sought out to perform the Murder for hire.

On September 27, 2022
- The FBI and Local Police department made me aware of a murder for hire on my life.

2. Identify the city and state where the events at issue in the complaint occurred.

Dallas, Tx
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3. Explain why you believe venue is appropriate in the Dallas Division of the Northern District
of Texas.
The decision to file my case in the Northern District Court is based on several significant factors that are directly related to

the circumstances surrounding my claim, which involve a credible threat to my life and my cooperation with the Federal
Bureau of Investigation (FBI):

Jurisdiction and Residence of Defendants: The Northern District Court is the appropriate venue for this case as it
encompasses the geographical area where the events giving rise to my claims primarily occurred. Furthermore, some of the
individuals implicated in this matter, including those responsible for the alleged threat against my life, reside or conduct
business within the Northern District's jurisdiction.

Safety and Security: | wish to emphasize that the FBI has alerted me to a credible and imminent threat to my personal
safety. This threat is not limited to a specific location but spans multiple jurisdictions, making it paramount that my legal
proceedings take place within a jurisdiction equipped to provide enhanced security measures. The Northern District Court
has a proven track record of addressing such security concerns effectively and ensuring the safety of all parties involved.

Expertise and Resources: Given the gravity of the circumstances surrounding my case, | believe that the Northern District
Court's experience and resources are vital in managing the complexities involved. The court's familiarity with cases involving
federal agencies and security-related matters makes it well-suited to ensure a fair and just resolution.

In view of these compelling reasons, | respectfully request that my case remains within the jurisdiction of the Northern
District Court. | believe that this choice is not only justifiable but also necessary to safeguard my well-being and facilitate a
fair legal process.

4. The complaint seeks compensatory damages of $5,000,000. Explain the basis for seeking
such amount.

| appreciate the opportunity to clarify the reasons behind my request for $5,000,000 in damages in light of the
threat on my life and the ensuing harm | have endured. This amount is based on a careful consideration of the
gravity of the situation and the established legal principles in similar cases.

Compensatory Damages for Emotional Distress and Psychological Harm: The credible threat on my life, the
harassment, and the subsequent events have inflicted profound and lasting emotional distress and psychological
harm. These experiences have led to severe anxiety, depression, and permanent emotional scars. The request for
$5,000,000 in damages is intended to provide just compensation for the extensive emotional suffering | have
endured.

Economic Losses: The threat to my life and the resulting safety precautions have imposed significant economic
burdens. | have incurred substantial expenses related to heightened security measures and lost income due to my
reduced ability to work effectively.

Deterrence and Equity: It is crucial to consider the need for deterrence in cases involving threats to personal safety
and the exercise of one's right to free speech. While | have grappled with the severe consequences of speaking
out, the defendant has enjoyed a carefree life, residing in a valuable property and traveling freely. To address this
disparity and deter future misconduct, a substantial damages award is warranted.
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5. Unless otherwise provided by statute, federal district courts have subject matter jurisdiction
over: (1) federal questions arising under the Constitution, laws, or treaties of the United
States, and (2) civil actions between citizens of different states or foreign nations where the
amount in controversy exceeds $75,000, exclusive of interest and costs. See 28 U.S.C. §§
1331 and 1332(a). Explain why a federal court has the authority to hear your case.

This matter is between citizens of different states as the defendant now resides in North
Carolina. The amount of the claim is also more than $75,000 which gives the court authority to
hear the case.

6. In the Civil Cover Sheet, you cite to 18 U.S.C. § 2255 as the basis for your cause of action.
Explain why you think 18 U.S.C. § 2255 is applicable to the allegations in this case.

28 U.S.C. § 1332 Diversity-Personal Injury is the correct cause of action in this case, | will amend the civil
cover sheet. This was an error on my part. Reason for code: 28 U.S.C. § 1332 Diversity-Personal Injury is
due to the amount being over $75,000 and being citizens of different states.

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STATE OF TEXAS

COUNTY OF | ye Las

VERIFICATION

I understand that a false statement or answer to any interrogatory in this cause of action

will subject me to penalties for perjury. I declare (or certify, verify or state) under penalty of

perjury that the foregoing answers are true and correct. 28 U.S.C. § 1746.

SIGNED on this jot day of_Cotber __, 2023.

